                                  Exhibit 1


                      (Excerpt from Hunt Deposition)




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                                                                             Page 1
                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF TENNESSEE
                             NASHVILLE DIVISION
           JOHNNY M. HUNT,                    )
                                              )
                Plaintiff,                    )
                                              )C.A. No.
           vs.                                )3:23-cv-00243
                                              )
           SOUTHERN BAPTIST CONVENTION;       )
           GUIDEPOST SOLUTIONS LLC; and       )
           EXECUTIVE COMMITTEE OF THE         )
           SOUTHERN BAPTIST CONVENTION,       )
                                              )
                                              )
                Defendants.                   )



                           HYBRID VIDEOTAPED DEPOSITION OF
                                     JOHNNY HUNT
                                    April 18, 2024
                                      9:01 a.m.



                           Bradley Arant Boult Cummings LLP

                                1230 Peachtree Street NE

                                           20th Floor

                                      Atlanta, GA 30309

                          Robin K. Ferrill, CCR-B-1936, RPR
                                 Magna Legal Services
                                     866.624.6221
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                                                                                Page 230
      1    fresh.

      2                      Because I frankly have forgot the question

      3    I was going to ask.              And I don't think Rob is doing

      4    that intentionally, but that's okay.

      5                      You had said that you weren't sure -- well,

      6    neither of us knew, sitting here today, whether or

      7    not they verified it.               My question to you was:             Are

      8    you challenging the assertion, now that you have seen

      9    it now, that they view the report as being verified

     10    with a high level of professionalism?

     11              A.      I would say they spoke uneducatedly.

     12    Further, what proof do they have it's a report of

     13    verity?

     14              Q.      Yes.     I'm just asking you and you have

     15    given me an answer, which is fine.

     16              A.      Right.

     17              Q.      Let's move on to a different subject.

     18              A.      Okay.

     19              Q.      Let's talk about your retention of emails

     20    and text messages, which have been discussed a little

     21    bit today.           I'm going into a little more detail.

     22              A.      Okay.

     23              Q.      Your counsel has represented to us that

     24    prior to this litigation in March of 2023, that it

     25    was not your practice to keep text messages and




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                                                                                Page 231
      1    emails.          Is that correct?

      2              A.      Correct.

      3              Q.      Did you routinely -- let's talk about texts

      4    first, so there's no confusion.

      5              A.      All right.

      6              Q.      And then we will talk about emails.                 So as

      7    to texts, was there a practice for you to routinely

      8    delete texts or was it more random?

      9              A.      It was routinely.          It was a habit.         It was

     10    a:   Let's get this phone cleaned up and make sure I

     11    have answered all my texts, emails.                     Done with them.

     12    Move on.

     13              Q.      So was it after you have read them, you

     14    would just swipe and delete, or was it a weekly event

     15    or something else?

     16              A.      It could be a daily event, read them, make

     17    sure they are answered if they need an answer, delete

     18    and move.

     19              Q.      What about with regard to emails, same

     20    practice?

     21              A.      Same practice.

     22              Q.      So if we were to sneak into your office

     23    tonight without you knowing and look in your inbox,

     24    there would be very little emails in your inbox?

     25              A.      Probably 20, maybe.




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                                                                                Page 232
      1              Q.      I promise I won't do that, but I will take

      2    your word for it.

      3                      You said you changed phones, meaning the

      4    phone you had in 2010, certainly not the same phone

      5    you had in 2022?

      6              A.      Correct.

      7              Q.      Do I have that right?

      8              A.      Yes, sir.

      9              Q.      The phone you had in 2022, is that the same

     10    phone you have today?

     11              A.      In '22, yes, sir.

     12              Q.      When did you switch to that current phone?

     13    We know it was at least in 2022.                    How much prior to

     14    that did you purchase the phone that you are

     15    currently using?

     16              A.      Okay.    When I was in counseling, one of the

     17    things that we discussed and it's because of my

     18    nature of being available to pastors, I was

     19    attempting to return every call, answer every email,

     20    and someone said -- and my wife along with them, you

     21    are too accessible to the world.                    You need to get a

     22    new number.           And so we just changed phones at that

     23    time.

     24              Q.      When was that?        I'm sorry.

     25              A.      That would have been the -- after -- around




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                                                                                Page 233
      1    end of the summer of 2022.                 I'm sorry, 2022, 2010.

      2    2010.          So in the time of my counseling and all.

      3              Q.      And the counseling you are talking about is

      4    with Roy?

      5              A.      Roy Blankenship, yes, sir.

      6              Q.      So the phone you currently have, you have

      7    had that same phone since at least 2011?

      8              A.      Correct.

      9              Q.      And I believe you said it was an iPhone?

     10              A.      Correct.

     11              Q.      You haven't upgraded to a new version of

     12    the iPhone?

     13              A.      Yes.    I have gone up, but I still kept the

     14    same number in iCloud.

     15              Q.      Same number.       Because of iCloud, did the

     16    texts and emails just transfer over to each new

     17    upgraded device?

     18              A.      They did.

     19              Q.      Do you know when you started preserving

     20    emails in connection with the claims that you

     21    ultimately brought in this lawsuit?

     22              A.      I still don't keep them.

     23              Q.      You still don't keep them to this day?

     24              A.      No, I figure my attorneys are handling any

     25    emails that are important for me.




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                                                                                Page 234
      1              Q.      Are you aware that there's a current

      2    obligation for you to retain your emails and text

      3    messages in connection with this lawsuit?

      4              A.      Let me make sure I understand your

      5    question.

      6              Q.      I'm not looking to confuse you or trick

      7    you.       Let's make sure we're talking the same

      8    language.

      9              A.      You mean from -- like from who?

     10              Q.      Anything relevant -- I'm not sure you

     11    should be deleting anything, but certainly with

     12    regard to any current texts or emails relating to the

     13    claims that you have brought in this lawsuit, that

     14    you are not permitted to delete any of those.                         So

     15    let's just start with that.

     16              A.      Uh-huh.

     17              Q.      Are you testifying that -- and maybe

     18    unwittingly and unknowingly -- but are you testifying

     19    that you have been still deleting texts and emails --

     20              A.      Yes.

     21              Q.      -- as they come in once you are done

     22    reading them?

     23              A.      Yes, the texts, yes, because they haven't

     24    related to the case.              The emails, I give them to my

     25    wife and she files everything.




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                                                                                  Page 235
      1              Q.      So those are still retained?

      2              A.      They are still retained, yes.

      3              Q.      The texts, you made the determination on

      4    your own whether or not a text was germane to the

      5    case, and if it was, you have kept it; and if not,

      6    you have deleted it?

      7              A.      Yes.     But I don't -- I can't even really

      8    think.          There may be a couple that we have retained

      9    and we have a record of, and I guess that's why my

     10    phone is at forensic now.

     11              Q.      And as far as you know, have you produced

     12    the texts that were on your phone that were germane

     13    to this case?

     14              A.      The last time we did it, I don't know that

     15    we found but maybe two text messages that related to

     16    the case.

     17              Q.      In May of 2022, Ms. Nokes asked you and you

     18    acknowledged that you first retained lawyers in

     19    connection with the upcoming release of the report,

     20    correct?

     21              A.      Right.        Yes, sir.

     22              Q.      And that was not Mr. MacGill's firm, that

     23    was a different firm.                 Is that correct?

     24              A.      Correct.        Yes, sir.

     25              Q.      At that time, were you made aware of the




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                                                                                Page 236
      1    need to preserve any texts or emails that related in

      2    any way to the claims that you brought?

      3              A.      To the claim.        Yes.      And I believe my wife

      4    has all of those.

      5              Q.      And she does?

      6              A.      Yes.

      7              Q.      And when you say your wife has them, how

      8    does she get them?

      9              A.      I forward them to her.

     10              Q.      That's emails.        What about texts?

     11              A.      I think I have only had about two texts,

     12    and they have been produced.

     13              Q.      And so you are saying that since May of

     14    2022, you believe there are only two responsive --

     15    and when I say "responsive," that's a legal word --

     16    germane or relevant texts that relate to this case

     17    and you've produced them both?

     18              A.      And if there are others, they will be

     19    produced soon.

     20              Q.      Well, I understand that.             But my question

     21    is currently, as far as you know, you have only

     22    produced, you say, two.                Whether more get produced,

     23    you have only produced approximately two so far?

     24              A.      And, again, I want clarity.              I mean, like I

     25    found an old text from                     .     So is that what you




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                                                                            Page 237
       1    are referring to?          I want to make sure I follow your

       2    questioning.

       3             Q.   Yes.    I am just trying to find out what

       4    efforts you made to retain responsive or relevant

       5    texts and emails in this case, just to make sure, as

       6    your lawyer has claimed that we have less than

       7    perfect in our document preservation and productive,

       8    I'm trying to see if you have been less than perfect

       9    in your document retention.             So I'm just trying to

      10    find out what efforts you have made.

      11             A.   Again, for clarity sake, you are saying if

      12    I get a text like, say, from my lawyer or are you

      13    saying I get a text from a friend saying, How is your

      14    case going?

      15             Q.   I'm looking for anything other than lawyer

      16    communications.        And I just want to know what you

      17    have done with them.          I think I have your answer.

      18    You said there are only a couple of texts and you

      19    have produced those?

      20             A.   Yes, correct.

      21             Q.   But you said you still have the policy of

      22    deleting texts that you have had throughout?

      23             A.   Yes.

      24             Q.   So let me now show you a couple of letters

      25    and make sure we can get some clarity here.




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                                                                              Page 238
       1             A.      Okay.

       2                     (Defendants' Exhibit 18, Letter to Bundren

       3             from MacGill, 12/14/23, marked for

       4             identification.)

       5                     MR. KLEIN:     I only have one for your team,

       6             sorry.     Actually, I lied.          I have two for your

       7             team.

       8             Q.      (By Mr. Klein) Mr. Hunt, I have just handed

       9    you a letter that's been marked Exhibit 18.                      And just

      10    for the record, it's a letter on MacGill PC

      11    letterhead dated December 14th, 2023 addressed to

      12    Brandon Bundren at the Bradley firm.                   I'm only going

      13    to ask you about one portion of this letter.

      14             A.      Okay.

      15             Q.      I'm just curious.        Do you remember seeing

      16    this letter --

      17             A.      I do.

      18             Q.      -- before it was sent?

      19             A.      Yes, sir.

      20             Q.      If you can turn to the last page of the

      21    letter where Mr. MacGill's signature is on.                      And that

      22    last dash that says:            Scope of collection.           Do you

      23    see where I'm reading?

      24             A.      Yes, sir.

      25             Q.      It says, Plaintiff has undertaken a




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                                                                              Page 239
       1    reasonable search for responsive documents.                      As a

       2    general practice, prior to the filing of this action,

       3    Plaintiff did not retain emails and text messages.

       4                    Do you see where I have read?

       5             A.     Yes, sir.

       6             Q.     And I think I have asked you this before,

       7    but that is an accurate statement?

       8             A.     Yes, sir.

       9             Q.     And, again, that's for both personal and

      10    business emails and texts, that was your general

      11    practice?

      12             A.     Unless it's something that we felt we

      13    needed to file and I gave it to Janet.                    To go back,

      14    for clarity, I don't even know how to file on a

      15    computer.        I am not IT savvy, period.             So if I

      16    receive an email and you were to say, Save that, I

      17    would think:        How?    So I would send it to Janet.                She

      18    would not only save it, but she would put it in a

      19    file.

      20             Q.     I understand that.           But with texts, you are

      21    certainly --

      22             A.     Oh, with texts, yeah.

      23             Q.     Let's make sure we don't speak over each

      24    other.        With texts, you are certainly tech savvy

      25    enough --




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                                                                            Page 240
       1             A.   I am.

       2             Q.   -- to delete a text?

       3             A.   Correct.

       4             Q.   Now, if I can show you now another letter,

       5    which we will mark as Exhibit 19.

       6                  (Defendants' Exhibit 19, Letter to Jacobson

       7             and Mintz from MacGill, 1/15/24, marked for

       8             identification.)

       9             Q.   (By Mr. Klein) This is a letter marked as

      10    Defendants' Exhibit 19.           It's a letter on MacGill PC

      11    letterhead, dated January 15th, 2024, addressed to

      12    John Jacobson and Steven Mintz and Terrence

      13    McCormick.      Have you seen this letter before,

      14    Mr. Hunt?

      15             A.   Yes, I have seen this letter.

      16             Q.   Again, I'm going to turn right to that last

      17    page on the last bullet point.

      18             A.   Okay.

      19             Q.   On Page 3 that says, "Text Messages."                 Do

      20    you see where I'm reading?

      21             A.   I do, yes, sir.

      22             Q.   As general practice prior to the filing of

      23    this action, Plaintiff did not retain email -- emails

      24    and text messages.         Do you see where I have read?

      25             A.   Yes, sir.




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                                                                            Page 241
       1             Q.   That sounds similar to the last letter.

       2    That's an accurate statement as of January 15, 2024?

       3             A.   Yes, sir.

       4             Q.   We understand -- well, actually, I'm going

       5    to back up for a second.            You say that's an accurate

       6    statement, but it sounds like you do retain emails.

       7    You just send them to Janet?

       8             A.   My wife, yes.

       9             Q.   So in your mind, sending them to your wife,

      10    is that not retaining them?

      11             A.   That would be retaining.

      12             Q.   The next sentence says, We understand the

      13    plaintiff does not have his same phone that he used

      14    in 2010 when the encounter occurred.                 You just

      15    clarified that you got a new phone soon after that,

      16    correct?

      17             A.   And new number, yes.

      18             Q.   Exactly.

      19                  Next sentence, Moreover, while Plaintiff

      20    had communications with those identified in his

      21    response to Interrogatory Number 11 -- I will show

      22    you that shortly -- we understand that none of these

      23    were substantive conversations.               Do you see where I

      24    read?

      25             A.   Yes, sir.




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                                                                            Page 242
       1             Q.   Who determined that these communications

       2    were not substantive?           Did you?

       3             A.   I guess my attorney.

       4             Q.   Yes.     I don't want to know about

       5    conversations you had with your attorney.

       6             A.   Right.

       7             Q.   I just wanted to know if you made that

       8    decision or if someone other than you made that

       9    decision?      And if so, who?

      10             A.   I would say my attorneys.

      11             Q.   You did not make that decision?

      12             A.   It may have been asked about some.                I can't

      13    think of any in particular.             But.

      14             Q.   So that last sentence that I read, ending

      15    with, We understand that none of these were

      16    substantive conversations, does that mean that you

      17    have certain communications but did not produce them?

      18    Or did you delete them?           Which one?

      19             A.   I don't remember having any that had

      20    anything to do with the case.

      21             Q.   But I still just want to understand just

      22    procedurally whether that means you retained them and

      23    just felt they were not responsive or you deleted

      24    them and would not know if they were not responsive?

      25             A.   If I deleted them, I would say it's because




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                                                                            Page 243
       1    they are not responsive.

       2             Q.      But I don't want to know if you deleted

       3    them.         I wanted to know what you actually did.              Did

       4    you delete them?

       5             A.      I don't know what you are talking about.

       6             Q.      Well, neither do I.        That's why I'm asking

       7    you the questions.            They're your text message?

       8             A.      General- --

       9                     MR. MacGILL:     Nobody knows what you are

      10             talking about.        Let's try again and see if we

      11             can get some understanding of what you're

      12             talking about.

      13                     MR. KLEIN:     No, I think he does.         He's just

      14             answering as best he can.

      15             A.      Yes.

      16             Q.      (By Mr. Klein) Which is inconsistent with

      17    some of these letters.

      18                     Do you have access to the emails that you

      19    forward to your wife?

      20             A.      Yes.

      21             Q.      And how do you have that access?

      22             A.      She files everything.        She's a good

      23    bookkeeping person, so she don't throw anything away.

      24             Q.      When you say "file," are you using that

      25    term meaning that electronically, she puts them in a




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                                                                             Page 244
       1    folder on a desktop or on your computer?

       2             A.     I think both.     I think that, and I think

       3    then she makes prints -- copies of them.                    But when I

       4    say the things I forward to her, it's really stuff

       5    that your firms are sending me.                We are not getting

       6    rid of any of that.          That's the only communication

       7    I'm having about the case that I feel is something

       8    substantive to keep.

       9                    So when something like this comes, I will

      10    assure you, she's got that.             And that's where I was

      11    asking for clarity:          Is this what you are talking

      12    about?        Something like this?          Or -- because I'm not

      13    having communication with anyone in detail about my

      14    case.

      15             Q.     I'm just trying to understand your

      16    retention policy of texts and emails.

      17             A.     Okay.

      18             Q.     And we are almost done.           I would just note

      19    that in those emails that you still have access to,

      20    if there are any that are responsive to outstanding

      21    document requests, there is a continuing obligation

      22    to produce.        And I would ask that you look and

      23    produce them if they are responsive.

      24             A.     And you will have my wife here tomorrow, so

      25    she will be able to answer that with greater clarity




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                                                                             Page 245
       1    than me.

       2             Q.   And we will ask her, but I wanted to make

       3    that record clear with you as well.

       4             A.   Got it.      Yes, sir.        Got it.

       5             Q.   Thank you.

       6                  (Defendants' Exhibit 20, Plaintiff's

       7             Response to Guidepost Solutions LLC's First Set

       8             of Interrogatories, marked for identification.)

       9             Q.   (By Mr. Klein) Mr. Hunt, I've handed you

      10    what's been marked as Exhibit 20.                 And for the

      11    record, it's Plaintiff's response to Guidepost

      12    Solutions, LLC's first set of interrogatories.                      And I

      13    would ask you to look through these and when you are

      14    done, just let me know if this document is familiar

      15    to you?

      16             A.   Yes, this is.       I have read this.

      17             Q.   Thank you.      If you can turn to Page 14 of

      18    this document.        On top, it says, Verification of

      19    responses to interrogatories only.                 Let me know when

      20    you are at that page.

      21             A.   I have every page but 14.

      22             Q.   Well, I think it's not numbered 14.                  It's

      23    the one right before 15.

      24             A.   Oh, okay.      Right in the back there.

      25    Verification --




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